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             EXHIBIT A
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                                                     U.S. Department of Justice
                                                     Civil Division, Federal Programs Branch
                                                     1100 L Street NW
                                                     Washington, DC 20005



                                                     December 7, 2020
   VIA ECF
   The Honorable Nicholas G. Garaufis
   United States District Judge
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

          Re:   State of New York, et al. v. Trump, et al., No. 17-cv-5228 (NGG) (VMS)
                Batalla Vidal, et al. v. Wolf, et al., No. 16-cv-4756 (NGG) (VMS)

   Dear Judge Garaufis:

           Defendants write to notify the Court that, pursuant to the Court’s December 4, 2020 Order
   in the above-captioned matters, Batalla Vidal ECF No. 354, the Department of Homeland Security
   and United States Citizenship and Immigration Services have each “post[ed] a public notice . . .
   prominently on [their] websites” in the manner described by the Court’s Order. That notice
   appears at the following locations:

      •   https://www.dhs.gov/news/2020/12/07/update-deferred-action-childhood-arrivals
      •   https://www.dhs.gov/publication/batalla-vidal-et-al-v-wolf-et-al-and-state-new-york-et-
          al-v-trump-et-al
      •   https://www.dhs.gov (rotating banner)
      •   https://www.uscis.gov/
      •   https://www.uscis.gov/i-821d
      •   https://www.uscis.gov/i-131

          Defendants thank the Court for its consideration of this matter.
Case 1:16-cv-04756-NGG-VMS
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     Dated: December 7, 2020                  Respectfully submitted,

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